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              IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF MASSACHUSETTS



 KIERAN JOSEPH LIEBL, INC.                §
 d/b/a ROYAL OAKS DESIGN,                 §
 INC.,                                    §
                                          §
                     Plaintiff,           §
                                          §
              v.                          §
                                          §        Case No. _____________
 EAP CONSTRUCTION, LLC,                   §
 PAULO PINHEIRO, NICHOLE                  §
 SLINEY REALTY TEAM, INC.,                §
 and NICHOLE SLINEY,                      §
                                          §
                     Defendants.          §




 MOTION FOR ADMISSION PRO HAEC VICE OF LOUIS K. BONHAM,
                ESQUIRE IN THIS MATTER


   Now comes Jeffrey S. Baker, Esquire, a member of the Massachusetts bar in
good standing, and a member of the Federal District Court of Massachusetts, and
hereby moves this Honorable Court for the admission of Louis K. Bonham,
Esquire, to practice law before this court in this matter. As grounds therefor, your
Moving Party hereby certifies and states as follows:

   1. Jeffrey S. Baker is a member in good standing of the Massachusetts bar and
      is licensed to practice law before the Courts of the Commonwealth of
      Massachusetts since 1985;


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2. Jeffrey S. Baker is admitted to practice law before the Federal District Court
   for the Commonwealth of Massachusetts;

3. Jeffrey S. Baker intends to act as local counsel in this matter for Kieran
   Joseph Liebl, Inc., d/b/a Royal Oaks Design Inc. As such, attorney Baker
   seeks to have admitted pro haec vice attorney Louis K. Bonham, Esquire as
   co-counsel;

4. Louis K. Bonham, Esquire is a member of the bar for the State of Texas in
   good standing and has been a member of such state bar since November 7,
   1986, see Ex. 1 annexed hereto;

   Louis K. Bonham, Esquire is a member in good standing of every
   jurisdiction where he has been admitted to practice law, including this
   jurisdiction, where attorney Bonham is admitted pro haec vice for one other
   matter which is pending before this Honorable Court, Kieran Joseph Liebl,
   Inc. d/b/a Royal Oaks Design, Inc., v. Indian Farms Estates, Inc. et al.,
   Case No. 1:24-cv-11019-NMG;

5. Louis K. Bonham, Esquire has no disciplinary proceedings pending against
   him;

6. Louis K. Bonham, Esquire, has familiarized himself with the local rules for
   the U.S. District Court for the District of Massachusetts;

7. The address of Louis K. Bonham, Esquire, is as follows:


                     Louis K. Bonham, Esquire
                      Texas Bar No. 02597700
                  OSHA BERGMAN WATANABE
                         & BURTON LLP
                  1100 Louisiana Street, Suite 4900
                       Houston, Texas 77002
                           713.228.8600
                       bonham@obwbip.com




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      WHEREFORE, Your Moving Party, Jeffrey S. Baker, Esquire, hereby
moves this Honorable Court for the grant of an order allowing Louis K. Bonham,
Esquire, to appear pro haec vice in this matter.



                                    Respectfully submitted,


                                    /s/ Jeffrey S. Baker
                                    ____________________
                                    Jeffrey S. Baker, Esq.
                                    Baker and Assocs.
                                    Suite 100
                                    2 W Hill Pl
                                    Boston MA 02114
                                    617 953 6747
                                    BBO#544929
                                    Bakerlaw@aol.com

                                    Counsel for Plaintiff,
                                    Kieran Joseph Liebl, Inc.,
                                    d/b/a Royal Oaks Design, Inc.

September 27, 2024




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                              The Supreme Court of Texas
                                                         AUSTIN
                                                   CLERK'S OFFICE




            I, BLAKE HAWTHORNE, Clerk of the Supreme Court of Texas, certify that the
    records of this office show that

                                                Louis Karl Bonham

    was duly admitted and licensed as an attorney and counselor at law by the Supreme

    Court of Texas on the 7th day of November, 1986.

            I further certify that the records of this office show that, as of this date



                                                Louis Karl Bonham



    is presently enrolled with the State Bar of Texas as an active member in good standing.


                                                    IN TESTIMONY WHEREOF witness my signature

                                                                   and the seal of the Supreme Court of

                                                                   Texas at the City of Austin, this, the

                                                                   11th day of March, 2024.

                                                                   BLAKE HAWTHORNE, Clerk



                                                                   Clerk, Supreme Court of Texas
    No. 4024C.1




This certification expires thirty days from this date, unless sooner revoked or rendered invalid by operation of rule or law.
